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                         UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                             )
                                                   )   CASE NO. 16-62977-JRS
VANESSA MARIA BOYKIN,                              )
                                                   )   CHAPTER 13
         Debtor.                                   )

                      APPLICATION TO EMPLOY SPECIAL COUNSEL

         COMES NOW THE DEBTOR, by and through counsel, and respectfully requests this

Court to authorize approval of the employment of Kevin S. Sobel of Kanner & Pintaluga, P.A.

(“Special Counsel”), pursuant to 11 U.S.C. 327 to serve and represent the Debtor’s Estate as

special counsel of record, showing to this Court the following:

                                                  1.

         This Court has jurisdiction in this matter pursuant to 28 U.S.C. Section 1334, 28 U.S.C.

Section 151, and 28 U.S.C. Section 157.

                                                  2.

         This Court is the proper venue for this matter pursuant to 28 USC Section 1409.

                                                  3.

         This matter is a core proceeding within the contemplation of 28 U.S.C. Section 157.

                                                  4.

         Debtor filed a voluntary petition for relief under Chapter 13 of Title 11 of the United

States Code July 27, 2016 and is eligible for relief under 11 U.S.C. §109.

                                                  5.

         The Debtor wishes to employ as Special Counsel an attorney duly admitted to practice
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law for the express purpose of representing Debtor in matters related to a personal injury suit.

                                                 6.

       The professional services that said Special Counsel would provide include, but are not

limited to:

               (a) Providing the Debtor with legal services regarding the case;
               (b) Preparing on behalf of the Debtor the necessary applications, answers, orders
                   and other legal papers pursuant to the matter; and
               (c) Performing all other legal services for Debtor, which may be reasonably
                   necessary.
                                                 7.

       The Debtor has selected Special Counsel because they have considerable experience in

matters of this nature and Debtor believes they are well qualified to represent Debtor in this area.

                                                 8.

       The relevant qualifications of Special Counsel are in the attached Affidavit of Special

Counsel.

                                                 9.

        On or about October 4, 2018, Debtor formally retained Special Counsel to pursue a

personal injury suit. The agreement between Debtor and Special Counsel provides for a

contingent fee. A copy of this agreement is attached and all parties understand that any

compensation paid to Special Counsel is subject to approval by this Court.

                                                 10.

       To the best of Debtor’s knowledge, said Special Counsel has no connection with the

Debtor, any creditor or any other party in interest herein, their respective attorneys and/or

accountants, the Chapter 13 Trustee, the United States Trustee, or any person employed in the
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office of the Chapter 13 Trustee or the United States Trustee, and represents no interest adverse

to the Debtor with respect to any matter on which said Special Counsel is to be employed by this

Debtor.


        WHEREFORE, Debtor prays that she be authorized to employ Kevin S. Sobel as Special
Counsel in this case under Chapter 13 of the Bankruptcy Code with all compensation paid or to
be paid to Special Counsel being subject to Court approval, and that it have such other and
further relief as is just and proper.



                                                Respectfully submitted,

                                                       /s/
                                                Teresa Stephens
                                                GA Bar No. 679464
                                                Attorney for Debtor
                                                BERRY AND ASSOCIATES
                                                2751 Buford Hwy, Suite 600
                                                Atlanta, GA 30324
                                                (404) 235-3300
                                                tstephens@mattberry.com
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    Kanner & Pintaluga




                                  RETAINER AGREEMENT
I /We hereby employ the firm of KANNER & PINTALUGA, PA as my/our Attorney(s) to prosecute
or settle my/our claim for damages against: ________________________________ and any
and all persons, corporations, organizations, whatsoever arising out of an accident or incident
which occurred to me/us on or about _____________________ at or near
____________________________________________
        The undersigned (s) hereby agrees to pay said Attorney(s) for their services the
following fee from the GROSS SETTLEMENT:
                 33 1/3 %             If settled without a lawsuit;
                 40%                  If lawsuit is filed; and
                 45%                  If an appeal is taken from the lower Court by either side.
        I/We further agree to pay costs which include, but are not limited to, court reporter
charges, deposition charges, charges for medical and police reports, charges for unpaid medical
services for which letters of protection have been forwarded to the respective health care
providers, photographs, independent investigative charges, independent benefit verification
charges, expert witness charges, etc. Such expenses are to be deducted after the above
settlement contingency fee is calculated and shall be deducted from the client’s net proceeds.
In addition, my Attorney(s) is hereby authorized to pay on my/our behalf, from the client’s net
proceeds, any hospital, doctor, ambulance or other medical bills which remain unpaid at the
time said recovery is made, which amounts will be deducted from the proceeds received.
        Said Attorney(s) accepts this employment on the condition that they will investigate said
claim to determine if there exists a reasonable possibility of making a recovery. If, after due
investigation and careful consideration, said Attorney(s) conclude in their sole discretion that to
proceed with the same would result in prosecution of an unmeritorious claim, or that it would
be economically disadvantageous to pursue said claim, then the Attorney(s) shall have the right
to rescind this agreement and, upon proper notice to the undersigned, withdraw as counsel.
       Should client(s) decide to terminate Attorney(s), with or without cause, or Attorney(s)
withdraw from representation for good cause, where a monetary offer to settle has not been
made by any party, insurance carrier or company, client agrees to pay attorney for the hours
the Attorney(s) utilized in its representation of this matter, billed at $350.00 per hour and
paralegal/legal assistant billed at $100.00 per hour. Should client decide to terminate




                                                                                                   6
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  Kanner & Pintaluga




Attorney(s), with or without cause, or Attorney(s) withdraw from representation for good
cause, and at the time of termination a monetary offer to settle the claim has been made by
any party, insurance carrier of company, regardless of their fault or liability, client(s) agree(s) to
pay the greater of the Attorney’s contingency fee based upon the amount of the offer(s) or for
the hours the Attorney(s) utilized in its representation of this matter, billed at $350.00 per
hour. If Attorney(s) are forced to bring an action to enforce its right to compensation under this
agreement, the party prevailing in the litigation shall be entitled, in addition to such other relief
as may be granted, to a reasonable sum as attorney’s fees plus costs expended in the course of
litigation. Should litigation be necessary, client agrees and voluntary consents with full
knowledge and understanding that the jurisdiction and venue shall reside in Dekalb County,
Georgia.
         Client agrees that Attorney(s) may employ associate counsel to assist them in
prosecuting client’s claim(s), which shall include, without limitation, associating counsel for
litigation, or appellate purposes. Client agrees that, in such event and unless otherwise notified,
Attorney(s) shall share their fees recovered under this agreement with the associate counsel,
with the fees being divided evenly (50/50) and each firm retaining joint responsibility for the
representation in accordance with Georgia law.
       Client agrees to a One Hundred Twenty-Five Dollar ($125.00) fee for file maintenance.
Expenses and charges, including copying at .25 cents per page, and facsimile transmittals at
$1.00 per page and long distance phone calls, shall be deducted from the net amount of client’s
net proceeds, in addition to the Attorney (s) Fees and costs referenced above.
        In addition, my Attorney(s) is hereby authorized to utilize on my/our behalf any
collateral source(s) I/we may have, such as health insurance or Medpay, to pay/lower my
medical bills, as well as to pay on my/our behalf, from the client’s net proceeds, any hospital,
doctor, ambulance or other medical bills which remain unpaid at the time said recovery is
made, which amounts will be deducted from the proceeds received


                                          10-04-2018
_________________________________ ____________            __________________________         __________
     SIGNATURE OF CLIENT                      DATE           SIGNATUREOFCLIENT               DATE
     (Or legal representative)                              (Or legal representative)

Accepted and Approved:
Law Offices of Kanner & Pintaluga, P.A.



By ___________________________
       FOR THE FIRM



                                                                                                    7
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                                  CERTIFICATE OF SERVICE

        This is to certify under penalty of perjury that I am over the age of 18 and that on this day I
served the following parties with a copy of the attached pleadings by placing true copies of same in the
United States Mail with adequate postage affixed to insure delivery, addressed to:

                                        Office of US Trustee
                                       75 Ted Turner Dr. SW
                                             Suite 362
                                         Atlanta, GA 30303

                                         Nancy J. Whaley
                                        Chapter 13 Trustee
                                303 Peachtree Center Ave, Suite 120
                                        Atlanta GA 30303

                                        Vanessa M. Boykin
                                        3308 Jameson Pass
                                     Alpharetta, Georgia 30022

                                          Kevin S. Sobel
                                      Kanner & Pintaluga, P.A.
                                       201 Peachtree St. N.E.
                                             Suite 200
                                        Atlanta, GA 30303

                    (Plus to all Creditors on the attached Creditor Mailing Matrix)

       This the 10th day of April, 2019.

                                                      /s/
                                               Teresa Stephens
                                               GA Bar No. 679464
                                               Attorney for the Debtor

BERRY & ASSOCIATES
2751 Buford Highway, Suite 600
Atlanta, GA 30324
(404) 235-3300
Label Matrix for Case    16-62977-jrs
                  local noticing         Doc 43Afni,Filed
                                                     Inc. 04/11/19 Entered 04/11/19 08:19:04      Desc Main
                                                                                     Julie M. Anania
113E-1                                              Document
                                               Po Box 3097        Page 8 of 9        Nancy J. Whaley
Case 16-62977-jrs                              Bloomington, IL 61702-3097                     Standing Chapter 13 Trustee
Northern District of Georgia                                                                  Suite 120
Atlanta                                                                                       303 Peachtree Center Avenue
Wed Apr 10 13:51:03 EDT 2019                                                                  Atlanta, GA 30303-1286
Associated Credit Unio                         Associated Credit Union                        Avonlea on the River Apts.
6789 Peachtree                                 c/o Thompson O’Brien Kemp & Nasuti P.C.        6015 State Bridte Road
Atlanta, GA 30360                              40 Technology Pkwy S, Suite 300                Johns Creek, GA 30097-6454
                                               Norcross, Georgia 30092-2924


Matthew Thomas Berry                           Vanessa Maria Boykin                           Capital One Bank (USA), N.A.
Matthew T. Berry & Associates                  3308 Jameson Pass                              by American InfoSource LP as agent
Suite 600                                      Alpharetta, GA 30022-3031                      PO Box 71083
2751 Buford Highway, NE                                                                       Charlotte NC 28272-1083
Atlanta, GA 30324-5457

(p)CAPITAL ONE                                 Comenity Capital/hsn                           Credit One Bank Na
PO BOX 30285                                   995 W 122nd Ave                                Po Box 98872
SALT LAKE CITY UT 84130-0285                   Westminster, CO 80234-3417                     Las Vegas, NV 89193-8872



First Premier Bank                             Gordon Fong                                    Hyeon Jeong
3820 N Louise Ave                              3940 Buford Hwy, A101                          c/o Claire D. Lom
Sioux Falls, SD 57107-0145                     Duluth, GA 30096-8212                          3575 Koger Blvd.
                                                                                              Suite 250
                                                                                              Duluth, GA 30096-4954

Hyeon Jeong                                    LVNV Funding, LLC its successors and assigns   Mid America Bank & Tru
c/o Grace Yoon Tram                            assignee of FNBM, LLC                          216 West 2nd St
Crye-Leike Realty                              Resurgent Capital Services                     Dixon, MO 65459-8048
2550 Pleasant Hill Road, Suite 121             PO Box 10587
Duluth, GA 30096-9278                          Greenville, SC 29603-0587

Midamerica/milestone/g                         Albert F. Nasuti                               Optimum Outcomes Inc
Po Box 4499                                    Thompson, O’Brien, Kemp & Nasuti, PC           2651 Warrenville Rd Ste
Beaverton, OR 97076-4499                       Suite 300                                      Downers Grove, IL 60515-5544
                                               40 Technology Parkway South
                                               Peachtree Corners, GA 30092-2924

Premier Bankcard LLC                           Premier Bankcard, Llc                          Michael Brian Pugh
Jefferson Capital Systems LLC Assignee         c o Jefferson Capital Systems LLC              Thompson O’Brien Kemp & Nasuti, P.C.
a/k/a Premier Bankcard MC                      Po Box 7999                                    Suite 300
PO Box 7999                                    Saint Cloud Mn 56302-7999                      40 Technology Parkway South
St. Cloud MN 56302-7999                                                                       Peachtree Corners, GA 30092-2924

Quantum3 Group LLC as agent for                Quantum3 Group LLC as agent for                Quantum3 Group LLC as agent for
Comenity Capital Bank                          GPCC I LLC                                     JH Portfolio Debt Equities LLC
PO Box 788                                     PO Box 788                                     PO Box 788
Kirkland, WA 98083-0788                        Kirkland, WA 98083-0788                        Kirkland, WA 98083-0788


Quantum3 Group LLC as agent for                Quantum3 Group LLC as agent for                Quintus Corp d/b/a Avonlea on the River
JH Portfolio Debt Equities LLC                 Sadino Funding LLC                             c/o RBBS, LLC
a/k/a Capital One Bank USA N.A.                PO Box 788                                     3105 Washington Rd, Suite C
PO Box 788                                     Kirkland, WA 98083-0788                        East Point, GA 30344-5434
Kirkland WA 98083-0788
                Case
Quintus Corp. d/b/a     16-62977-jrs
                    Avonlea on the River    Doc 43(p)SCANA
                                                       Filed
                                                           AND04/11/19
                                                               SUBSIDIARIES Entered 04/11/19 08:19:04      Desc Main
                                                                                              Scana Energy Marketing
1827 Powers Ferry Road SE                              Document
                                                  220 OPERATION WAY       Page 9 of 9         3344 Peachtree Rd Ne Ste
Bldg 2, Suite 200                                   MAIL CODE C 222                                      Atlanta, GA 30326-4808
Atlanta, GA 30339-5621                              CAYCE SC 29033-3701


Teresa R. Stephens                                  Webbank/fingerhut                                    Nancy J. Whaley
Matthew T. Berry & Associates                       6250 Ridgewood Roa                                   Nancy J. Whaley, Standing Ch. 13 Trustee
Suite 600                                           Saint Cloud, MN 56303-0820                           303 Peachtree Center Avenue
2751 Buford Highway NE                                                                                   Suite 120, Suntrust Garden Plaza
Atlanta, GA 30324-5457                                                                                   Atlanta, GA 30303-1216

World Finance Corp
108 Frederick Streetn
Greenville, SC 29607-2532




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Capital One Bank Usa N                              SCANA Energy Marketing, Inc. dba SCANA Energ
15000 Capital One Dr                                220 Operation Way
Richmond, VA 23238                                  MC 222
                                                    Cayce, SC 29033




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Associated Credit Union                          End of Label Matrix
                                                    Mailable recipients    36
                                                    Bypassed recipients     1
                                                    Total                  37
